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8                               UNITED STATES DISTRICT COURT
9                              EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                     No. 2:16-CR-00038-MCE
12                     Plaintiff,
13           v.                                     ORDER
14    BRIAN STONE,
15                     Defendant.
16

17          Defendant Brian Stone (“Defendant”) was convicted after a jury trial of multiple

18   counts of both Mail Fraud in violation of 18 U.S.C. § 1341 and Wire Fraud in violation of

19   18 U.S.C. § 1343. He was sentenced on September 27, 2018, to seventy-two (72)

20   months of imprisonment. Presently before the Court is Defendant’s Motion for

21   Compassionate Release. ECF No. 426. The Government opposes Defendant’s

22   request. ECF No. 429. For the reasons that follow, his Motion is DENIED.

23          Defendant contends that due to his extraordinary and compelling health situation,

24   and especially in light of the COVID-19 epidemic, he should be released prior to his

25   current anticipated release date in November 2023. Def.’s Mot., ECF No. 426, at 6.

26   According to Defendant, “he has limited ability to provide self-care for himself in prison,”

27   and “his multiple comorbidities place him within the group of persons most likely to suffer

28   a fatal COVID-19 infection.” Id.
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1           More specifically, Defendant is 61 years old, and “[p]rior to his incarceration, [he]
2    suffered from high blood pressure.” Id. at 7. “On July 1, 2019, while in custody [he]
3    suffered a stroke (described as a right basal ganglion CVA).” Id. Defendant was
4    hospitalized and then returned to his institution, FCI Lompoc. Later, at the end of
5    September 2019, Defendant began presenting symptoms of another stroke. Id. at 8.
6    “The treating physician at Lompoc found that a transient ischemic attack and ‘disorder of
7    brain not otherwise specified’ was indicated.” Id. “On October 1, 2019, . . . a
8    neurologist, wrote that [Defendant] appeared to suffer from “rapidly progressive
9    dementia” based on that doctor’s conversation with [a Lompoc staff physician].” Id. The
10   record also contains additional notations chronicling Defendant’s cognitive decline and
11   need for assistance from other inmates through October 2019. Id.
12          Defendant’s “medical records list his medical problems as including diabetes,
13   hyperlipidemia (high blood cholesterol level), disorder of the brain, otherwise
14   unspecified, hypertension, and unspecified depressive disorder.” Id. at 9. He has also
15   been diagnosed with Binswanger’s disease, which “is a form of small vessel vascular
16   dementia caused by damage to white brain matter” that is progressive and uncurable.
17   Id. at 9-10. Defendant thus seeks release both given his decline in health and the
18   additional risks posed now that we are in the midst of a viral pandemic to which he is
19   particularly susceptible. Though these conditions are both serious and chronic,
20   Defendant’s release would nonetheless be inappropriate.
21          “‘[A] judgment of conviction that includes [a sentence of imprisonment] constitutes
22   a final judgment’ and may not be modified by a district court except in limited
23   circumstances.” Dillon v. United States, 560 U.S. 817, 824 (2010) (alterations in original;
24   quoting 18 U.S.C. § 3582(b)). Those circumstances are delineated in 18 U.S.C.
25   § 3582(c). “Effective December 21, 2018, the First Step Act of 2018 amended 18 U.S.C.
26   § 3582(c)(1)(A) to permit an inmate, who satisfies certain statutorily mandated
27   administrative procedures, to file a motion with the district court for compassionate
28   release.” Riley v. United States, 2020 WL 1819838, at *5 (W.D. Wash. Apr. 10, 2020)
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1    (citing 18 U.S.C. § 3582(c)(1)(A)). That statute now provides:
2                 (c) Modification of an imposed term of imprisonment.—
                  The court may not modify a term of imprisonment once it has
3                 been imposed except that—
4                 (1) in any case—
5                 (A) the court, upon motion of the Director of the Bureau of
                  Prisons [(“BOP”)], or upon motion of the defendant after the
6                 defendant has fully exhausted all administrative rights to
                  appeal a failure of the [BOP] to bring a motion on the
7                 defendant's behalf or the lapse of 30 days from the receipt of
                  such a request by the warden of the defendant's facility,
8                 whichever is earlier, may reduce the term of imprisonment
                  (and may impose a term of probation or supervised release
9                 with or without conditions that does not exceed the unserved
                  portion of the original term of imprisonment), after considering
10                the factors set forth in section 3553(a) to the extent that they
                  are applicable, if it finds that—
11
                  (i) extraordinary and compelling reasons warrant such a
12                reduction;
13                ....
14                and that such a reduction is consistent with applicable policy
                  statements issued by the Sentencing Commission . . . .
15
     18 U.S.C. § 3582(c)(1)(A)(i).
16
           “Thus, the First Step Act amended § 3852(c)(1)(A) to allow prisoners to directly
17
     petition a district court for compassionate release, removing the BOP’s prior exclusive
18
     gatekeeper role for such motions.” Riley, 2020 WL 1819838, at *5. “The statute now
19
     provides the court with authority to reduce a sentence upon the motion of a defendant if
20
     three conditions are met: (1) the inmate has either exhausted his or her administrative
21
     appeal rights of BOP’s failure to bring such a motion on the inmate’s behalf or has
22
     waited until 30 days after the applicable warden has received such a request; (2) the
23
     inmate has established ‘extraordinary and compelling reasons’ for the requested
24
     sentence reduction; and (3) the reduction is consistent with the Sentencing
25
     Commission’s policy statement.” Id. (footnote omitted).
26
           The starting point for the policy statement referenced in the third prong is United
27
     States Sentencing Guidelines (“USSG”) § 1B1.13, which provides:
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                                                  3
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1                 [T]the court may reduce a term of imprisonment (and may
                  impose a term of supervised release with or without conditions
2                 that does not exceed the unserved portion of the original term
                  of imprisonment) if, after considering the factors set forth in 18
3                 U.S.C. § 3553(a), to the extent that they are applicable, the
                  court determines that--
4
                  (1)(A) Extraordinary and compelling reasons warrant the
5                 reduction; or
6                 (B) The defendant (i) is at least 70 years old; and (ii) has
                  served at least 30 years in prison pursuant to a sentence
7                 imposed under 18 U.S.C. § 3559(c) for the offense or offenses
                  for which the defendant is imprisoned;
8
                  (2) The defendant is not a danger to the safety of any other
9                 person or to the community, as provided in 18 U.S.C. §
                  3142(g); and
10
                  (3) The reduction is consistent with this policy statement.
11

12         Since Defendant was not sentenced pursuant to 18 U.S.C. § 3559(c), he is only

13   “entitled to relief if he demonstrates that (1) extraordinary and compelling reasons

14   warrant a sentence reduction, (2) he is not a danger to the safety of others or the

15   community, and (3) any requested reduction is consistent with the policy statement.”

16   Riley, 2020 WL 1819838, at *6.

17         “The Sentencing Commission’s application notes to this policy statement provide

18   further guidance.” Id. Indeed, the notes explain that “extraordinary and compelling

19   reasons” exist when:

20                (A) Medical Condition of the Defendant.
21                       ....
22                       (ii) The defendant is—
23                              (I) suffering from a serious physical or medical
                                condition,
24
                                (II) suffering from a serious functional or
25                              cognitive impairment, or
26                              (III) experiencing deteriorating physical or mental
                                health because of the aging process,
27
                                that substantially diminishes the ability of the
28                              defendant to provide self-care within the
                                                   4
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1                                    environment of a correctional facility and from
                                     which he or she is not expected to recover.
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     U.S.S.G. § 1B1.13 cmt. n.1 (emphasis added).
3
             Here, Defendant contends he suffers from serious physical or medical conditions
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     and/or that his conditions have deteriorated such that it has substantially diminished his
5
     ability to provide self-care. He also takes the related position that those conditions make
6
     him particularly vulnerable to COVID-19 such that he qualifies for release.1 The burden
7
     is on Defendant. United States v. Holden, 2020 WL 1673440, at *3 (D. Or. Apr. 6,
8
     2020). He has not met that burden here.2
9
             Having presided over this case for years, including through a jury trial and
10
     sentencing of all three co-defendants, the Court is intimately familiar with both this
11
     Defendant and the facts of this case. As a result, it absolutely agrees with the
12
     Government that, even assuming Defendant’s medical conditions are so severe and
13
     debilitating that they sufficiently affect his ability to care for himself, release would be
14
     inappropriate under 18 U.S.C. § 3553(a), particularly because Defendant remains a
15
     danger to the community.
16
             This case centered around a conspiracy to commit arson to burn down
17
     commercial buildings in order to collect insurance proceeds. That scheme underlies all
18
     thirteen counts for which Defendant was convicted. This is no small crime of
19
     convenience or opportunity. Instead these were crimes of greed that endangered the
20
     community each time a fire was set, presenting unique and unpredictable risks to
21
     neighbors and first responders. These were crimes that took methodical planning,
22
     diabolical scheming, and a healthy dose of arrogance. Despite the very clear evidence
23
     against him, Defendant nonetheless refused to take responsibility for his misdeeds.
24

25           1
                Since the filing of his Motion, Defendant has tested positive for COVID-19, although he remains
     asymptomatic. Given the uncertainties as to whether an individual can be re-infected, it does not appear
26   that his request is legally moot.
27            2
                The Court is cognizant that the Government takes the position that Defendant’s pending appeal
     divests this Court of jurisdiction over Defendant’s request. Since Defendant’s Motion fails on the merits,
28   however, the Court need not reach this issue.
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1            As a former attorney, Defendant should have known better. He was disbarred
2    well before this case for misappropriating client funds. True to form, however, he denied
3    any wrongdoing to the State Bar of California and never expressed any remorse. His
4    failure to comprehend or adhere to the most basic professional rules governing the
5    maintenance of his esteemed license demonstrates a complete disregard for authority or
6    the rule of law.
7            Even in prison, and after issuance of the medical diagnoses giving rise to this
8    Motion, Defendant was charged with and convicted of misusing the prison telephone
9    system. That is, Defendant allowed another inmate to use his phone account. He did
10   not present a defense and lost 27 days of good conduct time and 90 days of visiting,
11   telephone, and commissary privileges. If this was Defendant’s only historical
12   transgression, it might be written off as a lapse in judgment. Viewed in context, it is a
13   way of life.
14           At the end of the day, Defendant has built and destroyed himself professionally
15   multiple times by repeatedly choosing to do the wrong thing. He did the wrong thing
16   when he mismanaged his client’s funds. He did the wrong thing when he engaged in the
17   conduct underlying this case. He did the wrong thing when he misused his telephone
18   privileges in prison. And he did the wrong thing over and over again by failing to take
19   responsibility for any of his actions. Given the foregoing, the Court finds it inevitable that
20   this Defendant will wreak economic havoc on the community if released.3 More than
21   that, the Court has no doubt that if left to his own devices, this Defendant, who the Court
22   emphasizes is currently positive for COVID-19, will almost certainly refuse to follow
23   health directives and will further the spread the virus throughout the community.4
24           3
              In fact, given Defendant’s particular ailments, the record does not foreclose the possibility that
     Defendant poses even more of a risk to the community now than he did previously, given his purported
25   diminished mental capacity.
26           4
                 In any event, the Court is not convinced that Defendant is at any higher level of risk in the BOP
     facility than he would be in the public. According to Defendant’s medical records, Defendant has been
27   monitored on a daily basis since testing positive, but he still presents as asymptomatic. Perhaps more
     importantly, however, based on the numbers before the Court, the mortality rate in FCI Lompoc is
28   miniscule compared to the numbers being reported by the Center for Disease Control (“CDC”) for the
                                                             6
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1            Having found that Defendant is a danger to the community and having considered
2    all of the factors set forth in 18 U.S.C. § 3553(a), the Court thus concludes that release
3    would be inappropriate. Defendant’s Motion to Reduce Sentence (ECF No. 426) is
4    DENIED.
5            IT IS SO ORDERED.
6    Dated: May 29, 2020
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24   United States as a whole. As of May 27, 2020, the CDC was reporting 1,678,843 COVID-19 cases in the
     United States and 99,031 deaths, which results in a mortality rate of 5.9%. See
     https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html. In comparison, according to
25   Defendant, from the time FCI Lompoc started testing through May 10, 2020, FCI Lompoc had reported
     842 positive COVID-19 tests. To date, however, FCI Lompoc is reporting only one death. See
26   https://www.bop.gov/coronavirus/. The resulting mortality rate, which is based on the total positive tests
     from over two weeks ago (which now likely includes even more positive tests) and the current number of
27   deaths, equates to just 0.12%. These numbers do not include the FCI Lompoc staff members who have
     tested positive, with no additional deaths. Id. Either the data is flawed, or the risks posed by remaining
28   housed at FCI Lompoc are less than those posed to the general public.
                                                          7
